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           EXHIBIT C14
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON                           MDL NO. 16-2738 (FLW) (LHG)
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY
 LITIGATION

 THIS DOCUMENT RELATES TO ALL CASES




                             RULE 26 EXPERT REPORT OF
                           DANIEL L. CLARKE-PEARSON, MD




 Date: November 16, 2018
                                      Daniel L. Clarke-Pearson, MD
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 Daniel L. Clarke-Pearson, MD
 Robert A. Ross Distinguished Professor and Chair
 Department of Obstetrics and Gynecology
 University of North Carolina, Chapel Hill

 Background and Qualifications
 I am certified by the American Board of Obstetrics and Gynecology as a specialist in obstetrics
 and gynecology as well as a subspecialist in gynecologic oncology. The focus of my clinical
 practice, teaching and research for the past 40 years has been the care of women with
 gynecologic cancers (cancers of the ovary, fallopian tube, uterus, cervix, vagina, and vulva). In
 addition, I also provide care for complex gynecologic surgical problems (endometriosis, large
 ovarian tumors, leiomyomata).
 I received a BA from Harvard College (major in biology). I spent a year as a laboratory
 technician developing a device to noninvasively detect deep venous thrombosis. I then
 attended medical school at Case Western Reserve University School of Medicine (Cleveland,
 OH). After graduating in 1975, I completed a four-year residency in Obstetrics and Gynecology
 at Duke University Medical Center (Durham, NC). I then completed a three-year fellowship in
 Gynecologic Oncology at Duke. From 1982-1985 I was an assistant professor on the Duke
 faculty (Division of Gynecologic Oncology). From 1985-1987 I was the Director of Gynecology
 and Gynecologic Oncology at the University of Illinois (Chicago, IL). I returned to Duke in 1987
 to serve as the Director of Gynecologic Oncology and Director of the Gynecologic Oncology
 Fellowship program. I was appointed a full professor with tenure and was awarded a
 Distinguished Professorship (James Ingram Professor of Gynecologic Oncology) in 1993.
 In 2005, I was appointed Chair of the Department of Obstetrics and Gynecology at the
 University of North Carolina (Chapel Hill, NC). As the Robert A. Ross Distinguished Professor
 and Chair, I have administrative responsibilities over 75 faculty, 28 residents in obstetrics and
 gynecology and 29 fellows receiving subspecialty training in eight subspecialties. I have
 continued to provide clinical care to women with gynecologic cancers including surgery,
 administration of chemotherapy, conducting clinical trials and educating residents in Obstetrics
 and Gynecology and Fellows in Gynecologic Oncology.
 I have published over 200 peer-reviewed manuscripts in the medical literature. I have also
 written over 50 chapters for medical textbooks and edited three medical textbooks. My
 research has focused on the treatment of gynecologic cancers, surgical techniques, and the
 prevention of venous thromboembolic (VTE) disease. I have conducted the practice defining
 clinical trials evaluating various methods to prevent VTE in gynecologic surgery. I have served
 on the editorial boards of two peer-review journals (Obstetrics and Gynecology and Gynecologic
 Oncology). I served as a board examiner for the American Board of Obstetrics and Gynecology
 for eighteen years.


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 I have been actively involved with relevant medical organizations including the American
 College of Obstetricians and Gynecologists (ACOG), the Society of Gynecologic Oncology (SGO),
 the American College of Surgeons (ACS) and the Gynecologic Oncology Group (GOG). I have
 lead numerous postgraduate continuing education courses sponsored by ACOG. Most have
 focused on teaching obstetricians and gynecologists complex pelvic surgery and management
 (and prevention) of surgical complications. I have served on several ACOG committees
 (Technical Bulletins, Gynecologic Management and Grievance) and was the chair of the
 Gynecologic Management Committee that wrote Clinical Opinions distributed to ACOG
 members. I also served a three-year term on the ACOG Executive Board. As a gynecologic
 oncologist, I have been an active member of the SGO and have served on a number of SGO
 Committees and the Executive Board. In 2010, I was the SGO President. As a member of the
 American College of Surgeons, I have presented CME lectures at the ACS annual meeting and
 have served on the ACS Obstetrics and Gynecology Advisory Committee. I am currently a
 member of the ACS Commission on Cancer. The GOG is a cooperative group organization
 sponsored by the National Cancer Institute to conduct clinical trials investigating new
 treatments to improve the outcomes of women with gynecologic cancers. Many of the
 publications on my CV (Exhibit A) derive from participation in these clinical trials.
 Currently, I am a member of the SGO Ethics Committee and the President of the Council of
 University Chairs of Ob Gyn (CUCOG).
 Materials and Methods
 I was asked to provide opinions on these questions: 1) Can the use of talcum powder in the
 perineal area cause epithelial ovarian cancer? and 2) If so, what is the biological mechanism for
 this occurrence?
 To answer these questions and prepare this report, I sought to obtain relevant information
 through several sources. I primarily relied on a PubMed search of “talc AND Ovarian Cancer”,
 “Ovarian Cancer AND risk factors”, “Talcum Powder AND Ovarian Cancer”, “Talcum Powder
 AND Cancer”, “Talc AND Cancer”, “Asbestos AND Ovarian Cancer”, “Asbestos AND Cancer”.
 These searches provided peer-reviewed papers that included original research, case-controlled
 studies, cohort studies, meta-analysis studies, and review papers and systematic analysis. I also
 searched some of the references cited in these papers. Google searches were also performed. I
 also reviewed a number of textbooks searching for “ovarian cancer risk factors” and
 “talc/talcum powder”. In addition to my literature review, I received relevant materials at my
 request to clarify a particular topic or answer a question. I approached this research with the
 same scientific rigor that I would use in my own clinical, academic, and research practice.
 I assessed the data and conclusions of these peer-reviewed articles considering the strengths
 and weaknesses of each particular study. The medical and scientific literature on these topics
 varies in the quality of the study design and, at times, in conclusions. I approached each article
 objectively and critically, assessing for factors such as design, power, reputation of author(s),

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 quality of journal, and potential biases. The increased risk associated with the genital use of
 talcum powder is consistently described over decades. When formulating my opinions
 regarding causality, I considered the extensive body of literature in its totality, weighing the
 data and information according to its importance using the concepts outlined by Bradford Hill.
 Overall, I believe that the opinions expressed in this report are strongly supported by credible
 scientific research.
 Overview of Ovarian Cancer
 Approximately 22,000 women in the US will be diagnosed with ovarian cancer annually. To
 date, there is no method to screen for ovarian cancer and symptoms associated with ovarian
 cancer are vague and not specific. Therefore, at the time of initial diagnosis, nearly 75% of
 women will have ovarian cancer spread throughout the abdominal cavity and into the lung
 (pleural effusion). Current treatment includes initial surgery to attempt to remove the bulk of
 the cancer (“debulking surgery”) followed by treatment with multi-agent chemotherapy.
 Unfortunately, the majority of women will ultimately die from this malignancy. The most
 common histologic type of ovarian cancer is high-grade serous cancer, also termed “epithelial
 ovarian cancer” (EOC).
 Pathogenesis of Ovarian Cancer
 There are several theories as to the origin of ovarian cancer. One holds that “incessant
 ovulation” requires “repair” of the ovarian surface epithelium after each ovulation. The
 “repair” mechanism is prone to generate DNA errors (mutations) that result in malignant
 transformation. (Fathalla 1971). This theory is supported by observations that events that
 reduce ovulation are associated with a lower risk of a woman developing ovarian cancer.
 (Pregnancy, breast feeding, use of oral contraceptives all reduce the risk of ovarian cancer).
 (Havrilesky et al. 2013; La Vecchia 2017).
 Before 2008, it was presumed two other cancers in women (fallopian tube and primary
 peritoneal) were distinct from ovarian cancer. However, Levanon recognized that many EOCs
 actually arise in the fallopian tube and metastasize to the ovary and peritoneal cavity.
 (Levanon, Crum, and Drapkin 2008). This observation is supported by molecular data
 (especially the frequent finding of P53 mutations in the fallopian tube and EOC metastases.
 (Fathalla 2013; Kurman and Shih 2016; Dubeau and Drapkin 2013; Chien et al. 2015). Today, we
 believe that EOC, fallopian tube carcinoma and primary peritoneal carcinoma are the same
 entity and share similar risk factors and pathogenesis.
 By definition, cancer results from gene mutations in normal cells that transform the normal cell
 into a cell that has lost its regulation of controlled growth. Mutations can occur through a
 number of processes. Some mutations may be inherited from either the patient’s mother or
 father. BRCA1, BRCA 2 and mismatch repair gene (Lynch Syndrome) mutations are such
 examples. In most instances, the mutations occur due to exposures such as virus (HPV virus
 causing cervix, anal, vulvar and oropharyngeal cancers), tobacco smoking (lung cancer) and
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 exposure to x-rays (leukemia). Some exposures result in a chronic inflammatory response that
 induces mutations as the normal cell attempts to repair damage such as that caused by
 asbestos (pulmonary mesothelioma, ovarian cancer). These mutations can also occur
 spontaneously as cells (and individuals) age. (Bottazzi, Riboli, and Mantovani 2018).
 Inflammation and Cancer
 There is a clear link between inflammation (resulting in oxidative stress) and cancer risk. This is
 true for many types of cancer including ovarian cancer. (Balkwill and Mantovani 2001;
 Coussens and Werb 2002; Okada 2007; Reuter et al. 2010; Crusz and Balkwill 2015; Fernandes
 2015). Inflammation causes cancer through promoting cell proliferation, oxidative stress, and
 DNA damage and gene mutations. This process is associated with many steps in the genesis of
 cancers including initiation, progression, metastases and chemoresistance. Both inflammatory
 cells and cancers produce cytokines and chemokines that contribute to cancer growth and
 spread. Cytokines, particularly TNF-alpha and IL 1 beta, generate reactive oxygen species (ROS)
 and reactive nitrogen species (RNS). These are potent mutagens and are comparable to the
 cell damage caused by ionizing radiation (Yan, 2006). These ROS radicals cause DNA breaks and
 DNA adducts. The inflammation cascade has been shown to occur in the pathogenesis of EOC.
 (Shan and Liu 2009; Saed, Diamond, and Fletcher 2017; Khan et al. 2011; Saed et al. 2018;
 Trabert et al. 2014). Harper and Saed recently reported the induction of single nucleotide
 polymorphisms (SNPs) following exposure of normal ovarian and tubal cells and ovarian cancer
 cells to talcum powder. (Harper and Saed 2019). In a “normal cell”, DNA damage may be
 repaired. Alternately, the damaged cell may undergo “programmed cell death” (apoptosis) as
 directed by the P53 pathway. (P53 is a tumor suppressor gene).
 Talcum powder is known to elicit an inflammatory response in animal and humans. (Eberl and
 George 1948; Radic et al. 1988; “NTP Toxicology and Carcinogenesis Studies of Talc (CAS No.
 14807-96-6)(NonAsbestiform) in F344/N.Rats and B6C3Fl Mice (Inhalation Studies)” 1993).
 Shukla demonstrated in vitro that crocidolite asbestos and non-fibrous talc caused expression
 of genes in ovarian epithelial cells producing inflammatory cytokines. (Shukla et al. 2009).
 Gates documented absence of some DNA repair mechanisms in patients who were genital
 talcum powder exposed when compared to controls in the New England Case Control Study.
 (Gates et al. 2008). In another series of in vitro experiments, Buz’Zard transformed normal
 ovarian epithelial cells to malignant cells by talc exposure. (Buz’Zard and Lau 2007). Yan and
 Kahn have demonstrated similar findings in their laboratories. (Yan et al. 2006; Khan et al.
 2011).
 EOC Risk Factors
 Inherited mutations such as BRCA1, BRCA 2 are the most significant risk factor. The lifetime
 risk of developing ovarian cancer is 39-46% in BRCA1 carriers and 11-27% in women with BRCA
 2 mutation. (Ring et al. 2017). This is compared to 1.3% lifetime risk in non-carriers. However,
 BRCA mutations only account for 10-15% of all EOC (Lancaster 2015). Women with hereditary

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 risk are also affected by genetic modifiers, including nongenetic and environmental factors.
 (Levy-Lahad 2007). In addition to talcum powder use and asbestos, other risk factors include
 increasing age, family history of ovarian or breast cancer, nulliparity, early menarche or late
 menopause, high fat diet, infertility, endometriosis, polycystic ovarian syndrome, hormone
 replacement therapy, IUD use, history of pelvic inflammatory disease and obesity. (Hunn and
 Rodriguez 2012; Mallen, Townsend, and Tworoger 2018; Park et al. 2018; Folkins et al. 2018).
 Multiparity, breast feeding, oral contraceptive use, tubal ligation, salpingoophorectomy, and
 hysterectomy (without salpingoophorectomy) reduce the risk of developing EOC. (Hunn and
 Rodriguez 2012; Mallen, Townsend, and Tworoger 2018; Park et al. 2018; Folkins et al. 2018).
 Talcum Powder, Asbestos and other carcinogens
 During my postgraduate (residency) training (1975-1979) in obstetrics and gynecology it was
 reported that asbestos had been identified in ovarian cancer tissue samples (Henderson) and
 that talcum powder contained asbestos. It seemed plausible that asbestos (a known
 carcinogen) could be an EOC risk factor. However, we were taught that asbestos had been
 removed from talcum powder in the production process.
 As a young gynecologic oncologist, it was reassuring to learn that asbestos was no longer
 contained in talcum powder because we knew that asbestos was a potent carcinogen. IARC
 monograph 100c (2012) clearly summarizes the evidence associating asbestos to cancer of the
 lung, larynx and ovary. Experimental models demonstrate sufficient evidence for the
 carcinogenicity of all forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite
 and anthophyllite) and that all forms, as well as talc containing asbestiform fibers are
 carcinogenic to humans. Specifically addressing the increased risk of EOC in women exposed to
 asbestos in occupational settings, there are at least five cohort mortality studies (Acheson et al.
 1982; Wignall and Fox 1982; Germani et al. 1999; Berry, Newhouse, and Wagner 2000; Magnani
 et al. 2008), two population-based cohort studies (Vasama-Neuvonen et al. 1999; Pukkala et al.
 2009) and a case control study (Langseth and Kjaerheim 2004) showing a causal association
 between exposure to asbestos and ovarian cancer.
 In the late 1970s concerns that talc could be associated with EOC were expressed by Woodruff
 and Longo. (Woodruff 1979). The hypothesis suggested that talc applied to the perineum
 (vulva) ascends to the vagina and then into the uterus and through the fallopian tubes to
 implant on the ovary and other peritoneal surfaces. This foreign body was known to create a
 potent inflammatory reaction when found in the lungs, pleural cavity and peritoneal cavity. In
 fact, as gynecologic surgeons, we were taught to wash the talcum powder off of our surgical
 gloves before opening the abdomen to prevent inflammatory reactions and adhesions.
 In 1982 a case-control study was the first epidemiologic study alerting the medical community
 of the possible association of talc use and EOC. (D. W. Cramer et al. 1982). Cramer compared
 women who did and did not use talc in their perineal hygiene. Regular use of talc was found to
 be associated with an increased occurrence of EOC by 92% (OR of 1.92. 95% confidence
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 interval 1.27-2.89). Cramer wrote, “It is not clear whether this derives from the asbestos
 content of talc or from the uniqueness of the ovary which might make it susceptible to
 carcinogenesis from both talc and other particulates.”
 Talcum powder also contains other carcinogens including asbestos, talc containing asbestiform
 fibers (fibrous talc), heavy metals such as nickel, chromium and cobalt (possible 2b), and other
 inflammatory agents, toxins, and carcinogens contained in the fragrance chemicals in talcum
 powder. (Expert Report of Longo and Rigler 2018; Exhibit 28, Deposition of John Hopkins,
 Ph.D., MDL No. 2378, 2018; Exhibit 47, Deposition of Julie Pier, MDL 2738, 2018; Expert Report
 of Michael Crowley, Ph.D, MDL No. 2738, 2018).
 Epidemiology Studies
 The association of talcum powder and EOC is based on several types of epidemiologic studies.
 Of course, a randomized controlled double-blinded trial would be more conclusive. However, a
 randomized trial would be unethical given the evidence that talcum powder causes EOC.
 When looking at these epidemiologic studies in their totality, the data shows a consistent,
 statistically significant increased risk of developing EOC with perineal talcum powder use.
 Overall, the risk is increased 20-60% when compared with women who did not use talcum
 powder.
 The original case control study published by Cramer et al in 1982 evaluated the use of perineal
 talcum powder in 215 white women with EOC (29 cases were “borderline” or ovarian cancer of
 low malignant potential). These women with EOC were matched by race, age and residence to
 215 women in the same community. Talc exposure from surgical gloves, diaphragm use and
 perineal use was ascertained. Talc was used by 42.8% of women with EOC and only 28.4% of
 women who did not have EOC. Any perineal talc exposure showed a 1.92-increased relative
 risk of EOC (95% confidence limits 1.27-2.89). (D. W. Cramer et al. 1982).
 Subsequently, there have been at least 24 other case-control studies looking at the association
 of talc and EOC. Overall, the case-control studies show a 30-40% increased risk of EOC
 associated with talcum powder use. These individual studies vary in size and quality and I
 weighted them accordingly. Three recent case-control studies replicated previous studies
 showing an increased risk of EOC in women using perineal talcum powder. Wu evaluated 1701
 Californian women with EOC and found talc significantly increased the risk of EOC by 40% in
 whites, 20% in Hispanics and 56% in African Americans. (Wu et al. 2015). Owing to the small
 number of African American women in this study, the findings were not significant.
 Subsequently, the National Cancer Institute sponsored a multi-center study of African American
 women and found a 44% increase in EOC associated with talc use. A dose-response was also
 found for duration of use and number of lifetime applications (p<.05). (Schildkraut et al. 2016).
 Cramer performed a case control study (with additional pooled data) in 2016 that included
 nearly 4,000 women with EOC finding an elevated EOC risk of 33% (OR 1.33; CI….). Risk
 increased with frequency and duration of use. (Cramer et al. 2016).
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 While recent case-control studies and cohort studies are compelling, I feel that meta-analysis
 studies are much stronger in that they include larger numbers of patients resulting in greater
 statistical power. I reviewed six meta-analyses reported between 1995 and 2018. All of these
 studies report a statistically significant increase risk of EOC in women who use perineal talc:

  Author             Years               # case control      Odds Ratio         95% Confidence
                                         studies                                interval
  Gross & Berg       1995                9                   1.27               1.09-1.48
  Cramer             1999                14                  1.36
  Huncharek          2003                16/11,933           1.33               1.16-1.45
                                         subjects
  Langseth           2008                14                  1.40               1.29-1.52
  Terry              2013                8/8,525 cases       1.24               1.15-1.33
  Penninkilampi      2018                24/13,421 cases     1.31               1.24-1.39

 Penninkilampi reported that there was a further increase in EOC in women who used talcum
 powder more frequently. In those women who had greater than 3,600 lifetime applications the
 odds ratio increased to 1.42 (OR 1.42; CI 1.25-1.39) when compared with women who used <
 3,600 applications (OR 1.32; CI 1.15-1.50). In this study, talcum powder use was associated
 with an increased incidence of endometrioid and serous EOC but not mucinous or clear cell
 types. (Penninkilampi and Eslick 2018).
 In summary, when evaluating all epidemiological studies, there is a consistent and statistically
 significant increased risk of developing EOC with perineal talcum powder use.
 Migration
 How is it possible for cosmetic talcum powder, applied to the perineum, to reach the fallopian
 tube and ovary and cause an inflammatory response that could result in malignant
 transformation?
 As compared to males, the female reproductive tract is open and allows migration of potential
 pathogens into the peritoneal cavity. The female reproductive tract is in continuity between
 the peritoneal cavity and the external environment. For example, an ovum extruded from the
 ovary (an intraperitoneal organ) can progress down the fallopian tube to the uterine cavity,
 implant and result in a pregnancy that delivers vaginally. The converse is also obvious. It is
 clearly recognized that sperm (including sperm and sperm particles which would be non-motile)
 ascend from the vagina through the uterus and into the fallopian tube and into the peritoneal
 cavity. (Jones and Lopez 2006). Sexually transmitted bacterial infections (for example,
 gonorrhea and chlamydia) ascend from the vagina to the tube and ovary resulting in pelvic
 inflammatory disease and tubo-ovarian abscesses. While sperm and bacteria are “motile”, non-
 motile substances have been demonstrated to ascend from the vagina to the peritoneal cavity.
 As far back as 1961, Egli demonstrated that carbon particles placed in the posterior vaginal


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  fornix were observed in the fallopian tubes within less than one hour in two of three patients
  tested. (Egli and Newton 1961). Venter and Iturralde placed albumin microspheres labelled
  with 99mTc into the vagina. (Venter and Iturralde 1979). During pelvic surgery the following
  day, radioactive levels were found in the tubes and ovaries in nine of 14 cases. Sjosten
  conducted a trial that showed that powder on gloves use to perform a gynecologic exam
  resulted in powder detected in the peritoneal fluid, tubes and ovaries one day after the
  examination. (Sjösten, Ellis, and Edelstam 2004). Likewise, talc has been detected on the
  ovaries following surgical oophorectomy. (Henderson et al. 1971; Heller, Gordon, et al. 1996;
  Heller, Westhoff, et al. 1996).
  I reviewed the small body of literature suggesting that migration of particles does not occur and
  do not think these studies are compelling.
  I believe that ascension of talcum powder and its constituents through the genital tract is the
  most important route of exposure. However, inhalation is another plausible mechanism. (IARC
  2012; Steiling et al. 2018). With either route, at least some of the talcum powder components
  are likely to be absorbed into the lymphatic system and bloodstream, representing another
  mechanism for exposure to internal organs.
  In my opinion, genital application of talcum powder is a significant risk factor for all users and
  can cause epithelial ovarian cancer in some women by an accepted mechanism. As an academic
  and practicing physician, I made this determination in the context of Bradford Hill
  considerations as follow:
          Strength and consistency: This opinion is supported by overwhelming epidemiologic
  evidence showing that the use of talcum powder statistically increases a woman’s risk of
  developing EOC by approximately 30 percent (Odds ratio 1.31; Penninkilampi 2018). Every
  meta-analysis before 2018 also reported similar increase in the risk of developing EOC with the
  use of talcum powder. In my view, especially when considering the severity and frequency of
  ovarian cancer and the preventable nature of talcum powder usage, this finding is critically
  important and consistently supported by numerous studies.
          Specificity: Based on the epidemiologic studies cited in this report, there appears to be
  a specific ovarian cancer caused by talcum powder: epithelial ovarian cancer (EOC). This
  association satisfies this consideration, although I did not weigh this factor to be as important
  as strength and consistency.
         Temporality: In many cancers where there are identified etiologic agents (smoking and
  lung cancer, HPV infection and cervical cancer) there is a latency period (time from exposure to
  the onset of the cancer) that can extend over decades. In the case of talcum powder and
  ovarian cancer there is a clear latency period of decades of talcum powder use before a woman
  develops ovarian cancer, thus fulfilling this consideration.



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          Biologic Gradient/Dose-response: Measuring the “dose” of talcum powder used by an
  individual woman is difficult to ascertain and has been dependent on recall by the woman. In
  general, studies have attempted to capture the application “frequency” (daily? Only used on
  perineal pads during menstrual cycle?) or duration of use (how many years?). In addition,
  biologic gradient or dose-response is not always linear (e.g. asbestos exposure and
  mesothelioma is generally thought to have a “threshold response”). None the less, a number of
  studies have demonstrated an association between “dose” and the occurrence of EOC
  (response). (Terry et al. 2013; Schildkraut et al. 2016; Daniel W. Cramer et al. 2016;
  Penninkilampi and Eslick 2018). In modern times, molecular research is often used to elucidate
  this factor. I anticipate that this will occur as more in vitro studies are performed with talcum
  powder.
          Plausibility: This is obviously a critical factor when forming opinions on causation of a
  risk factor. Evidence shows that talcum powder ascends from the perineum through the
  vagina, cervix and uterus into the fallopian tubes and onto the ovary. Talcum powder is known
  to be an agent that causes inflammation. An inflammatory reaction caused by talcum powder
  on the tube and surface of the ovary results in genetic mutations and carcinogenesis. Talcum
  powder causes ovarian cancer through this mechanism. The “agent(s)” that causes the
  inflammatory reaction and carcinogenesis may be talc, asbestos, fibrous talc, heavy metals
  and/or chemicals contained in fragrances added to talcum powder.
         Coherence: Epidemiological data, in vitro and in vivo research are consistent in
  explaining the pathogenesis of EOC through the inflammatory mechanisms described above.
  (Saed, Diamond, and Fletcher 2017; Nadler and Zurbenko 2014). Further, this is consistent with
  the causes of other cancers.
          Experiment: There are no randomized trials comparing outcomes of women who use
  or who do not use talcum powder in their perineal hygiene. Further, such a trial at this point in
  time would be unethical. How could we expose women to talcum powder when the existing
  evidence supports causation of EOC? Laboratory research (in vitro) present evidence to
  support the biologic, genetic and epigenetic consequence to ovarian epithelium when exposed
  to talcum powder. (Shukla et al. 2009; Fletcher and Saed 2018; Saed et al. 2018).
          Analogy: There are numerous reports in the medical literature of minerals similar to
  talc causing cancer. Probably the most significant example is asbestos and lung cancer
  (mesothelioma).
  Summary of Opinions
  It is my opinion, based on research that I have conducted in the medical and scientific literature
  as well as my knowledge and experience as an obstetrician-gynecologist and as a subspecialist
  in gynecologic oncology for over 40 years, that the use of talcum powder products including
  Johnson’s Baby Powder and Shower to Shower, applied to the perineum of women, is a
  causative factor in the development of EOC. The mechanism by which talcum powder causes
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  cancer involves: 1) ascension of particles to the fallopian tubes and ovaries and 2) initiation of
  an inflammatory process that includes oxidative stress and specific genetic mutations.
  These opinions are made to a reasonable degree of medical and scientific certainty.
  I am being compensated for my work in this case at a rate of $700 per hour.
  I reserve the right to supplement or amend this report if new information becomes available.
  The materials I considered are attached as Exhibit B. My prior testimony is attached as Exhibit
  C.




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                        Exhibit A
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     UNC SCHOOL OF MEDICINE
     CURRICULUM VITAE


     Personal Information


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     Education and Training


     Fellow                       Duke University           1979-1981            Gynecology Oncology
                                  Medical Center

     Residency                    Duke University           1975-1979            Obstetrics and
                                  Medical Center                                 Gynecology

     Medical Degree               Case Western Reserve      1971-1975            Medicine
                                  University School of
                                  Medicine

     Bachelor of Arts             Harvard College           1966-1970            Biology



     Professional Experience


     Active Consulting Staff      The Outer Banks           Oct 2009 – present   Medicine/Oncology
                                  Hospital                                       Section

     Chairman                     University of North       September 2005 -     Obstetrics and
                                  Carolina at Chapel Hill   present              Gynecology
                                  School of Medicine

     Robert A. Ross               University of North       September 2005 -     Obstetrics and
     Distinguished Professor      Carolina at Chapel Hill   present              Gynecology
                                  School of Medicine

     James M. Ingram              Duke University           July 1993-2005       Gynecologic Oncology
     Professor of                 Medical Center
     Gynecologic Oncology

     Division Director            Duke University           July 1987-2005       Gynecologic Oncology
                                  Medical Center

     Professor                    Duke University           July 1987-2005       Obstetrics and
                                  Medical Center                                 Gynecology

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     Director of Gynecology    University of Illinois at   January 1985-1986         Obstetrics and
     and Gynecologic           Chicago                                               Gynecology
     Oncology

     Associate Professor       University of Illinois at   July1984-1986             Obstetrics and
                               Chicago                                               Gynecology

     Director of Gynecologic   University of Illinois at   July 1984-1985            Obstetrics and
     Oncology                  Chicago                                               Gynecology


     Associate Professor       Duke University             January1984               Obstetrics and
                               Medical Center                                        Gynecology

     Co-Director,              Duke University             July 1982-1984            Obstetrics and
     Trophoblastic Disease     Medical Center                                        Gynecology
     Center

     Assistant Professor       Duke University             July1980-1984             Obstetrics and
                               Medical Center                                        Gynecology


     Honors and Awards

     2009-2010                 President, Society of Gynecologic Oncologists

     2001-2013                 America’s Top Doctors for Women (176 Physicians): Women’s Health

     2008                      CREOG National Faculty Award for Excellence in Resident Education

     2004                      Invited Panel Member, International Consensus Conference of the Prevention
                               of Venous Thromboembolism, Windsor, England

     2002                      ACOG Roy Pitkin/Elsevier Award: One of top four papers published annually
                               in Obstetrics and Gynecology

     2001                      America’s Top Doctors for Women: Women’s Health

     1991                      Invited Panel Participant, Consensus Meeting on the Prevention of
                               Thromboembolism - Windsor, England

     1985                      Clinical Research Prize Paper – ACOG District Meeting

     1981-1984                 Junior Faculty Clinical Fellowship – American Cancer Society

     1982                      Donald F. Richardson Memorial Prize Paper -Best research paper presented by
                               a Junior Fellow at a District ACOG Meeting

     1981                      Clinical Research Paper, Second Place
                               ACOG Annual Clinical Meeting

     1981                      Junior Fellow First Prize Paper – ACOG District IV

     1980                      American Cancer Society Clinical Fellow


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     1979                      Junior Fellow First Prize Paper – ACOG District IV



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     Books and Chapters

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             Oncology, Eighth Edition. (DiSaia PJ, Creasman WT, eds). Mosby/Elsevier, 2016.

        2.   Havrilesky LJ, Lopez-Acevedo M, Clarke-Pearson DL. Palliative Surgery for Ovarian Cancer.
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        6.   Ragazzo J L, Clarke-Pearson DL. Cervical Neoplasia in Gynecological CancerManagement
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        8.   Clarke-Pearson DL, Picklesimer A. Management of DVT/PE in Pregnancy. In The 5-Minute
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        9.   Clarke-Pearson DL, Abaid L. Emergency Management of DVT/PE. In The 5-Minute OB/GYN
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        10. Clarke-Pearson DL. Complications of Disease and Therapy. In Clinical Gynecologic Oncology,
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        11. Clarke-Pearson DL. Abaid L. Prevention of Deep Vein Thrombosis and Pulmonary Embolism.
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            2007.

        12. Clarke-Pearson DL. Surgical Complications. In Précis, An update in Obstetrics and
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        13. Clarke-Pearson DL, Lee P, Spillman M, Lutman C. Preoperative Evaluation and Postoperative
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            and Wilkins, Baltimore, 2006.

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             trial of low-dose heparin and external pneumatic calf compression. Gynecol Oncol, 1982.



     Un-refereed Publications

         1.   Clarke-Pearson DL. Preventon and Management of Venous Thromboembolism (15 minute
              Video) for the Globathon to End Women’s Cancer. September 2014.

         2.   Clarke-Pearson DL, Brincat C, Tang J. Prevention and Management of Venous
              Thromboembolism in Gynecologic Surgery. ACOG Update. Vol 37, No 2. August, 2011.

         3.   Clarke-Pearson DL. Preventing Venous Thromboembolism: Evidence-based Perioperative
              tactics. OBG Management. 2006, 18: 56-66.

         4.   Clarke-Pearson DL: Prevention of venous thrombosis following gynecologic surgery in
              menopausal patients. Menopausal Medicine Vol 4 (4):6-9, 1996.

         5.   Rodriguez GC, Clarke-Pearson DL: What is the appropriate preoperative and prenatal screen for
              hemostatic disorders? Obstet Gynecol Forum, November 1991.

         6.   Clarke-Pearson DL, Hume RF: Venous thromboembolic disease in obstetrics and gynecology:
              Prevention, diagnosis and treatment. Curr Problems in Obstet Gynecol, 1989.

         7.   Hunter VJ, Christensen C, Clarke-Pearson DL: Evaluation and management of the abnormal
              Papanicolaou smear. North Carolina Family Physician, 1989.

         8.   Clarke-Pearson DL, Krumholz AB: When the pap smear is equivocal. Patient Care 23:43-47,
              1989.

         9.   Clarke-Pearson D, DiSaia P, Mastroianni L, Richart R, Weingold AB: Advances in managing
              endometrial carcinoma. Patient Care 22:102-116, 1988.

         10. Creasman WT, Smith EB, Clarke-Pearson DL: Current concepts of gestational trophoblastic
             disease. Female Patient, 1984.

         11. Creasman WT, Clarke-Pearson DL: Abnormal cervical cytology: Spotting it, treating it.
             Contemporary Obstet Gynecol 21:53-76, 1983.

         12. Hammond CB, Clarke-Pearson DL, Soper JT: Management of patients with gestational
             trophoblastic neoplasia: Experience of the Southeastern Regional Center. In: The Proceedings of
             the World Congress on Gestational Trophoblastic Neoplasia, Nigeria, 1982.

         13. Clarke-Pearson DL: Application of impedance phlebography in obstetrics. Symposium on
             Noninvasive Diagnostic Techniques in Vascular Disease. San Diego, California, 1979.

         14. Clarke-Pearson DL: The O.S.R. as an influence to health education. The Scalpel, Journal of
             Alpha Delta Alpha Medical Honor Society, 1975.



     Teaching Record

     2018


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    Visiting Professor, University of West Virginia, Morganton, WVa

            Antonio Palladino Lectureship

     2016    Plenary Session, Society of Pelvic Surgeons, St Louis, Mo. “Venous Thromboembolismin




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            Minimally Invasive Compared with Open Hysterectomy for Endometrial Cancer”

            Key Note Speaker. ACOG Armed Forces District Meeting, Orlando, FL

            Visiting Professor and Research Day Judge, Cleveland Clinic Department of Obstetrics and
            Gynecology and Women’s Research Institute, Cleveland, Ohio

            Visiting Professor, Department of Obstetrics and Gynecology, Carilion Roanoke Memorial
            Hospital, Roanoke, Va.

     2015   Visiting Professor
            University of Michigan

     2014   Visiting Professor
            Massachusetts General Hospital, ObGyn Department Grand Rounds
                     Boston, MA
            Invited speaker: ACOG District II Annual Meeting, New York City
                     “Uterine Morcellation: A Decision Analysis”

     2013   Visiting Professor and Resident Research Day Judge
            Department of Obstetrics and Gynecology, University of Nebraska
                     Omaha, NE
            Visiting Professor, Emory University Department of Obstetrics and Gynecology
                     Atlanta, GA

            Key Note Speaker: Inaugural Ireland Ovarian Cancer Forum
                   “Surgery for Ovarian Cancer”
                   Dublin, Ireland
            Panel Moderator, American College of Surgeons Annual Clinical Congress
                   “General Surgery in the Pregnant Patient”
                   Washington, DC

     2012   Clifford Wheeless Lecture, Johns Hopkins University, Department of Obstetrics and Gynecology,
            Baltimore, MD

            Panel Moderator, American College of Surgeons Annual Clinical Congress
                   “Multidiciplinary approach to Vaginal Fistula”
                   Chicago, IL

            Resident Research Day Judge and Visiting Professor
            Department of Obstetrics and Gynecology, Greenville Hospital System, Greenville, SC

            Visiting Professor: University Teaching Hospital, Department of Obstetrics and Gynecology,
            Lusaka, Zambia
                     Cervical Cancer management
                     Current Treatment of Vulvar Carcinoma
            Visiting Professor: Center for Infectious Disease Research in Zambia (CIDRZ), Lusaka, Zambia
                     Human Papilloma Vaccine for the Prevention of Cervical Cancer

            Visiting Professor: Inova Fairfax Hospital Women’s Center, Fairfax VA

            Visiting Professor: Emory University School of Medicine, Department of Obstetrics and
                     Gynecology. Atlanta, GA

     2011   Sloane Symposium: Current Issues and Controversies in Obstetricsand Gynecology
            Columbia University, College of Physicians and Surgeons, Department of Obstetrics and

                                                                                                       30
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            Gynecology
                       Vandewiele Lecturer: “Prevention of Venous Thromboembolism in Gynecologic
                       Surgery”
            Guest Lecturer and Judge: Resident Research Day, Columbia University
                    “What to say in your Operative Note”

            University of Kentucky: Residents’ Research Day Speaker

            Virginia Commonwealth University School of Medicine
            Department of Obstetrics and Gynecology Annual Ware-Dunn Symposium
            Keynote speaker

     2010   New England Obstetrical and Gynecological Society, Sturbridge, MA
            Invited Speaker

            ACOG Annual Clinical Meeting, San Francisco, CA
            Luncheon Seminar Leader

            George Washington University Medical Oncology Review Course
            Washington, DC
            Invited Faculty

            MD Anderson Cancer Center Medical Oncology Review Course
            Houston, TX
            Invited Faculty

            The Society of Gynecologic Oncology of Canada
            Royal College of Physicians and Surgeons of Canada
            Annual Meeting
            Invited Lecturer: Thromboprophylaxis in Minimially Invasive Surgery

            Visiting Professor
            University of South Florida, Tampa, FL
            Resident Research Day

     2009   ACOG District IV Meeting, Asheville, NC
            “Prevention of Venous Thromboembolism”
            “Stump the Professors: Panel”

            American College of Surgeons’ Annual Meeting, Chicago, IL
            “Complicated Hysterectomy”

            Visiting Professor: Hartford Hospital, Hartford CT

            Visiting Professor: University of Connecticut, Farmington, CT

            Visiting Professor: Memorial Sloan Kettering Cancer Center

            Southern Obstetric and Gynecologic Seminar, Asheville, NC
            “Prevention of VTE following Gynecologic Surgery”
            “The Operative Note: What to say?”

            Woman’s Hospital 7th Annual Founders Commerative Lectureship, Woman’s Hospital, Baton
            Rouge, LA

     2008   Visiting Professor, Department of Obstetrics and Gynecology, Yale University

                                                                                                    31
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            Course Director, ACOG CME Course “Complex Pelvic Surgery”, Phoenix, AZ

            Invited Speaker: First Annual Gynecologic Cancer Symposium, Washington, DC April 18, 2008

            Visiting Professor, University of Wisconsin Resident’s Research Day, Ben M. Peckman Memorial
            Lecturer, Madison, WI

            ACOG representative to Symposium on Surveillance for Venous Thrombosis,
            American Society of Hematology, Washington DC

     2007   Visiting Professor, Department of Obstetrics and Gynecology, University of Miami

            Faculty, University of Utah CME Course “Obstetrics and Gynecology: Update and Current
            Controversies” Park City Utah

            Visiting Professor, Department of Obstetrics and Gynecology St. Louis University, St. Louis MO

            Invited Lecturer: Marvin Camel Memorial Lecture, Washington University, Department of
            Obstetrics and Gynecology, St Louis, MO

            Presidential Panel Speaker: Society of Pelvic Surgeons Annual Meeting, Cleveland, OH “What
            Can We do to prevent Venous Thromboembolism?”

     2006   Course Director: ACOG Annual Clinical Meeting: “Complex Gynecologic Surgery, Washington
            DC

            Invited Speaker, ACOG District IV Annual Meeting, Palm Beach, FL

     2005   Course Director: ACOG Annual Clinical Meeting: “Complex Gynecologic Surgery, San
            Francisco

            Course Director: ACOG Free-standing CME Course “Complex Gynecologic Surgery, Preventing
            Complications” Dana Point, CA

     2004   Society of Surgical Oncology: Symposium on Prevention of Venous Thromboembolism in the
            Surgical Oncology Patient

            Postgraduate Course Faculty: ACOG Cancun, Mexico “Advanced Gynecologic Surgery”

            American College of Obstetricians and Gynecologists, Annual Clinical Meeting, Philadelphia, PA
            Faculty, 120 Course: Special Topics for the Advanced Gynecologic Surgeon
            Faculty, Luncheon Seminar: “Prevention of Postoperative Venous Thromboembolism”
            Speaker: “Late-breaking News in Gynecologic Oncology”

            Visiting Professor, University of Kansas School of Medicine, Truman Medical Center

            Faculty: ACOG Indiana Section Meeting, Indianapolis
            “Surgery in the Obese Patient”, “Surgical Instruments”

     2003   Faculty, The 3rd Annual Cancer Conference, Aultman Cancer Center, Canton Ohio
            “Prevention and Management of Perioperative Venous Thromboembolism in the
            Gynecologic Cancer Patient”

            Visiting Professor, Department of Obstetrics and Gynecology, University of Massachusetts,
            Worcester, MA

                                                                                                         30
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     2002   Visiting Professor
            Bowman Gray School of Medicine

            Residents’ Day Research Judge
            Winston Salem, NC

            American College of Surgeons’ Annual Clinical Congress
            Panel Discussant: “Surgical Problems: Unexpected adenxal mass, tuboovarian abscess”
            Video Presentation: “Intraoperative Radiation Therapy for the treatment of Recurrent
            Cervical Carcinoma”
            Discussant: Video Presentation “Laparoscopic Infrarenal paraarotic lymphadenectomy”

     2001   ACOG Annual Meeting
            Postgraduate Seminar
            Gynecologic Surgery in the Elderly

            Visiting Professor
            University of West Virginia, Faculty, Cancer Center Annual Symposium
            “Chemosensitization and Radiation Therapy in the treatment of locally advanced cervical
            carcinoma.”

     2000   Keynote Speaker
            Knoxville Obstetrical and Gynecological Society

            ACOG Annual Meeting (Course Director)
            Postgraduate Course
            Gynecologic Surgery for the Advanced Pelvic Surgeon

            Visiting Professor
            East Carolina University School of Medicine

            Visiting Professor
            Pennsylvania State University School of Medicine (Hershey)

            George Washington University
            Medical Oncology Board Review Course (Faculty)

     1999   ACOG Annual Meeting (Course Director)
            Postgraduate Course
            Gynecologic Surgery for the Advanced Pelvic Surgeon

            George Washington University School of Medicine
            Medical Oncology Board Review Course (Faculty)

            Visiting Professor
            University of Virginia Health Sciences Center

            ACOG Annual Meeting (Course Director)
            Postgraduate Course
            Gynecologic Surgery for the Advanced Pelvic Surgeon

     1998   ACOG Annual Meeting (Course Director)
            Postgraduate Course
            Gynecologic Surgery for the Advanced Pelvic Surgeon


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            George Washington University School of Medicine
            Medical Oncology Board Review Course (Faculty)

            Visiting Professor
            Temple University School of Medicine

            Keynote Speaker
            Maryland Obstetrical and Gynecological Society

            Visiting Professor
            University of Louisville
            “Prevention of Postoperative Venous Thromboembolism”
            “Management of Patients with Thrombophilias”

     1997   Visiting Professor
            University of Utah, Salt Lake City

            ACOG Annual Meeting (Course Director)
            Postgraduate Course
            Advanced Surgery for the Gynecologist

            Visiting Professor
            Cleveland Clinic Foundation
            Department of Obstetrics and Gynecology
            Cleveland, Ohio

            George Washington University School of Medicine
            Medical Oncology Board Review Course (Faculty)

            Keynote Speaker
            Chicago Gynecological Society

            Visiting Professor
            University of Louisville School of Medicine

            Visiting Professor
            Washington University School of Medicine

            Visiting Professor
            Johns Hopkins University School of Medicine

            ACOG Annual Clinical Meeting
            Faculty, 120 Course: Special Topics for the Advanced Gynecologic Surgeon
            Faculty, Seminar: “Gynecologic Surgery in the Elderly”
            Faculty, Luncheon Seminar: “Prevention of Postoperative Venous Thromboembolism”

            American College of Surgeons’ Annual Clinical Congress
            Panel Discussant: “Management of Gynecologic Problems Encountered by the General
            Surgeon at the time of Surgery. “Surgical Management of Ovarian Cancer Discovered at the time
            of Laparotomy”

     1996   Visiting Professor
            Dartmouth Medical School

            Director ACOG Postgraduate Course
            Annual Clinical Meeting

                                                                                                       32
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            Special Problems for the Advanced Gynecologic Surgeon

            Visiting Professor
            University of Tennessee School of Medicine
            Chattanooga, Tennessee

            Visiting Professor
            University of South Florida School of Medicine
            Tampa, Florida

            Visiting Professor
            Washington University School of Medicine
            St. Louis, Missouri

            John L. McKelvey Lecturer
            New Treatments for Ovarian Cancer
            University of Minnesota
            Minneapolis, Minnesota

            Faculty - Taubman Ovarian Cancer Symposium
            St. Joseph’s Hospital
            Tulsa, Oklahoma

            ACOG Postgraduate Course (Course Director)
            San Juan, Puerto Rico
            Advanced Pelvic Surgery

     1994   ACOG Clinical Meeting CME Course
            Orlando, FL
            "Gynecologic Cancer"

            Guest Speaker
            Seattle Gynecological Society Assembly

     1993   Visiting Professor - Department of OB/GYN
            University of Massachusetts
            Worcester, Massachusetts

            ACOG Clinical Meeting - CME Course
            Washington, DC
            "Gynecologic Surgery"

            PostGraduate Course in Obstetrics and Gynecology
            Kaiser-Permanente - Maui, Hawaii
            "Screening for Ovarian Cancer"
            "Management of CIN with LEEP"
            “Difficult Vaginal Hysterectomy"
            "Incisions and Wound Closures"

            Duke/US Surgical Course
            "Laparoscopic Assisted Difficult Hysterectomy"

            Visiting Professor - Mt. Sinai Hospital
            Baltimore, MD
            "Prevention of Thromboembolism"
            "Management of Ovarian Cancer"

                                                                        33
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     1992   Visiting Professor - Department of OB/GYN
            University of Massachusetts
            Worcester, Massachusetts

     1991   Visiting Professor
            George Washington University School of Medicine

            Course Director - ACOG Course (120 series)
            Annual Clinical Meeting
            New Orleans, Louisiana
            "Gynecologic Oncology for the Practicing Gynecologist"

            Course Director - ACOG Course
            Vancouver, British Columbia, Canada
            "Gynecologic Surgery"

            Visiting Professor
            Florida Hospital Cancer Center
            Orlando, Florida

            Paper Presentation
            Poster Presentation
            Society of Gynecologic Oncologists
            Orlando, Florida

            Visiting Professor
            Ohio State University School of Medicine
            Columbus, Ohio

            Medical Oncology Board Review Course
            George Washington University
            Washington, DC
            "Cervical, Vulvar and Vaginal Cancer"
            "Gestational Trophoblastic Disease"

     1990   Society of Gynecologic Oncologists
            Breakfast Seminar
            "Diagnosis and Prevention of Postoperative Venous Thrombosis"

            Course Director - ACOG Course (120 Series)
            Annual Clinical Meeting
            San Francisco, California
            "Update in Clinical Gynecologic Oncology"

            Seminar, ACOG Clinical Meeting
            "Prevention of Postoperative Venous Thrombosis"

     1989   Tumor Conference, Moore Regional Hospital
            Pinehurst, North Carolina

            Course Director - ACOG Course (120 Series) Annual Clinical Meeting, Atlanta, Georgia
            "Update in Clinical Gynecologic Oncology"

            Seminar, ACOG Clinical Meeting
            "Management of Early Ovarian Cancer"

                                                                                                   34
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              Luncheon Conference, ACOG Annual Meeting
              "Reproductive Outcome Following Cancer Treatment"

              Medical Oncology Board Review Course, George Washington University, Washington, DC
              "Cervical Cancer"

     1988     Matt Weiss Symposium
              St. Louis, Missouri

              ACOG Annual Clinical Meeting
              Poster Session Presentation
              Review of Clinical Research Paper
              Review of Surgical Film
              Clinical Seminar Presentation

              ACOG Course
              Juneau, Alaska
              "Gynecologic Surgery"

     1987     Update in Obstetrics and Gynecology
              Williamsburg, Virginia

              North Carolina Obstetrical and Gynecological
              Society Meeting, Southern Pines, North Carolina

              Visiting Professor, University of Minnesota School of Medicine, Minneapolis, Minnesota

              ACOG Annual Clinical Meeting
              Clinical Paper Presentation
              Clinical Seminar Presentation

              Southern Obstetrics and Gynecology Seminar
              Asheville, North Carolina

              Satellite Teleconference
              Chicago, Illinois
              "Selected aspects of the care of the menopausal woman"

              Chicago Medical Schools' Review Course
              Chicago, Illinois
              "Endometrial Carcinoma"

              Smokey Mountain Obstetric and Gynecologic Seminar, East Tennessee State University
              Johnson City, Tennessee


     Grants


     Active Grants:
                       None at this time

     Completed Grants:



                                                                                                       35
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     Project Period     Agency            Title                   Amount          Role           % of
                                                                                                 Effort
     9/27/05-3/10/10    NIH/NICHD         Women’s                 $370,367        Principal
                                          Reproductive Health     Annual Direct   Investigator
                                          Research (WRHR)         Costs
                                          Career Development
                                          Center at UNC -
                                          HDD050113-02
     3/1/00-3/31/02     Pharmacia         Randomized              $ 73,000        Principal
                        Upjohn            Comparison of Low                       Investigator
                        Pharmaceuticals   Molecular Weight
                                          Heparin vs. Oral
                                          Anticoagulant
                                          Therapy for Long
                                          Term
                                          Anticoagulation in
                                          cancer patients – 98-
                                          Frag-069


     1/1/99-6/15/00     Zeneca            Phase II/III Trial of   $ 18,320        Principal
                        Pharmaceuticals   IV ZD9331 in                            Investigator
                        , Inc             patients with
                                          recurrent refractory
                                          ovarian cancer
     6/1/98-6/1/00      Pharmacia         Prospective             $ 100,760       Principal
                        Upjohn            Randomized Trial                        Investigator
                        Pharmaceuticals   Comparing
                                          Pneumatic
                                          Compression
                                          stockings To Low
                                          Molecular Weight
                                          Heparin (dalteparin)
                                          in the prevention of
                                          postoperativevenous
                                          Thrombosis
     06/01/95 -         National Cancer   Hyperthermia and        $10,930,969     Investigator   2%
     05/31/2000         Institute         Perfusion Effects in
                                          Cancer Therapy
     03/15/98-          Novartis          PSC 833 with taxol      $ 102,240       Principal
     03/14/00           Pharmaceuticals   and carboplatin vs.                     Investigator
                                          carboplatin alone in
                                          patients with stage
                                          III ovarian cancer
     8/1/97-7/31/99     NIH               Hyperthermia and        $ 1,832,501     Co-
                                          Perfusion Effects in                    Investigator
                                          Cancer Therapy
     5/28/97-12/31/98   Smithkline        Oral Topotecan          $ 81, 600       Principal
                        Beecham           Single Agent for 5                      Investigator
                        Pharmaceuticals   days in patients with
                                          ovarian cancer
     01/01/93-          National Cancer   Comprehensive           $ 4,442,597     Program        10%
     12/31/98           Institute         Cancer Center Core                      Director
                                          Support Grant
     06/01/94 -         National Cancer   Autologous Bone         $641,613        Investigator   10%


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     03/31/97     Institute         Marrow
                                    Transplantation in
                                    Breast and Ovarian
                                    Cancer: Project IB
     03/15/96-    Ethicon, Inc      An Open,              $ 4,000           Principal
     05/30/96                       Controlled, Rand,                       Investigator
                                    Multicenter,
                                    Evaluation of Dyed
                                    Monocryl
                                    (Poliglecaprone 25)
                                    Synthetic
                                    Absorbable Suture
                                    as Compared to
                                    Surgical Gut
                                    (Chromic)
                                    Absorbable Suture
     1987-1996    American          Clinical Oncology     $ 20,000          Principal      5%
                  Cancer Society    Fellowship            (Direct)          Investigator
     10/01/92-    Centocor, Inc.    CA125 Post-Market     $ 8,750           Principal      5%
     09/30/94                       Evaluation                              Investigator
     12/15/93-    Smith-Kline       Phase III Topotecan   $ 37,500          Principal      5%
     09/21/94     Beecham           versus Taxol in                         Investigator
                  Pharmaceutical    Women with
                                    Advanced Ovarian
                                    Carcinoma
     12/15/93-    Smith-Kline       II Topotecan, Given   $ 37,500          Principal      10%
     08/14/94     Beecham           as Five Daily Doses                     Investigator
                  Pharmaceutical    Every 21 Days in
                                    Ovarian Cancer
     07/01/89 -   Gynecologic       Gynecologic           $ Contingent on   Co-Principal   30%
     03/31/94     Oncology          Oncology Group,       number of         Investigator
                  Group             Duke University       patients
                                    Medical Center
     01/01/91 –   Organon, Inc.     ORG 2766 as a         $97, 575          Principal      10%
     09/01/93                       Neuroprotector from                     Investigator
                                    Cisplatin
                                    Chemotherapy for
                                    Ovarian Cancer
     02/01/91 -   Organon, Inc.     Decapeptyl                              Principal      10%
     01/31/92                       Treatment of          $100,098          Investigator
                                    Advanced Ovarian
                                    Cancer (Phase II
                                    Trial)
     11/01/90-    Cytogen, Inc.     111In-CYT-103         $ 124,000         Principal      10%
     10/31/91                       Oncoprobe                               Investigator
                                    Evaluation of
                                    Ovarian Cancer
     07/01/86-    National          Avoidable Mortality   $ 4,647,291       Co-            10%
     06/30/91     Institutes of     from Cancers in                         Investigator
                  Health            Black Populations
     06/01/87 -   Public Health     Improved              $162,804          Co-Principal   10%
     05/31/89     Service           Instrumentation for   (Direct)          Investigator
                                    the Diagnosis of
                                    Venous Thrombosis
     05/01/88 -   National Cancer   Gynecologic           $97,073           Co-Principal   10%


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     04/30/89               Institute          Oncology Group,           (Direct)    Investigator
                                               Duke University
                                               Medical Center
     01/01/88 -             Centocor, Inc.     Evaluation of the         $ 20,000    Co-Principal     5%
     12/30/88                                  Safety and                (Direct)    Investigator
                                               Preliminary
                                               Diagnostic
                                               Accuracy
                                               of IV Administered
                                               Indium-111-labeled
                                               OC-125 Monoclonal
                                               Antibody in Patients
                                               with Carcinoma of
                                               the Ovary

     01/01/88 -             Centocor, Inc.      Evaluation of the        $ 40,000    Co-Principal     5%
     12/30/88                                   Safety and               (Direct)    Investigator
                                                Preliminary
                                                Diagnostic
                                                Accuracy
                                                of IV Administered
                                                Indium-111-labeled
                                                OV-TL3
                                                Monoclonal
                                                Antibody in Patients
                                                with Carcinoma of
                                                the Ovary
     05/01/85-              National Cancer     Illinois Cancer          $ 21,000    Co-Principal     10%
     04/30/87               Insitute            Council -                (Direct)    Investigator
                                                Gynecologic
                                                Oncology Group
     07/01/81-              American            Junior Faculty           $ 35,000    Principal        30%
     06/30/84               Cancer Society      Clinical Fellowship                  Investigator
     01/01/83-              Trent               In-vitro                 $ 1,000     Principal        5%
     12/31/83               Foundation          chemotherapy                         Investigator
                                                sensitivity testing of
                                                ovarian carcinoma


     PROFESSIONAL SERVICE

     To discipline:

         A. National/International


        2018             President, Council of University Chairs of ObGyn (CUCOG)
        2016              President Elect: Council of University Chairs of ObGyn (CUCOG)
                  2016    Vice President: Bayard Carter Society (Duke University ObGyn Alumni)
                  2016    Member, ACOG Grievance Committee
                  2016    Member, American College of Surgeons, Commission on Cancer
                  2016    American College of Obstetricians and Gynecologists)
                  2016

        2015              Secretary-Treasurer: Council of University Chairs of ObGyn (CUCOG)
                  2015    American College of Surgeons Board of Governors. ACOG Representative (alternate)

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       2014
              2014   Chair, External Site Visit Committee, Department of Obstetrics and Gynecology, Penn State
              2014   University College of Medicine, Department of Obstetrics and Gynecology Member,
                     CUCOG Executive Board
       2011
              2011   Member, American College of Surgeons Advisory Committee (ObGyn)
              2011   Member, CUCOG Executive Committee
              2011   Chair, ACOG Committee on Gynecologic Practice
                     Chair, SGO Nominating Committee
       2010-2013
        2010-2013    Immediate Past President, SGO
        2010-2013    Member, ACOG Executive Board (Representing the Society of Gynecologic Oncology)
        2011-2013    Chair, Committee on Gynecologic Practice, ACOG
       2007 -2010    Member, Education/Research Committee, Society of Pelvic Surgeons
       1988- 2005    Board Examiner: Obstetrics and Gynecology , ABOG
         2010-2011   Vice-Chair, Committee on Gynecologic Practice, ACOG
              2010   President, Society of Gynecologic Oncologists
         2009-2010   Editorial Board, Precis, Gynecology, ACOG
                     Program Chair, Society of Pelvic Surgeons

       2008
        2008-2010    Committee on Gynecologic Practice, ACOG
             2008    President Elect II, Society of Gynecologic Oncologists
             2008    Chair, Membership Committee. Society of Pelvic Surgeons
        2007-2008    Vice President, Society of Gynecologic Oncologists

       2007
              2007   Editorial Board: Precis, Oncology, ACOG
              2007   SGO Executive Council, Society of Gynecologic Oncologists
              2007   Chair, Task Force to select Editor and Chief, Gynecologic Oncology, Society of
                     Gynecologic Oncologists
              2007   Co-Chair, Strategic Planning Committee, Society of Gynecologic Oncologists
              2007   Member, By-laws Committee, Society of Gynecologic Oncologists

       2005
              2005   NC Breast and Cervical Cancer Control Program’s (BCCCP) Medical Advisory
                     Committee, North Carolina Department of Environment, Health, and Natural Resources
             2005    Member, Clinical Cancer Committee, Moses Cone Health System
             2005    Director, Gynecologic Oncology Program, Moses Cone Health System
             2005    Member, Cancer Center Executive Committee, Moses Cone Health System
        1998-2005    Member, Executive Committee Cancer Center Clinical Service Unit, Duke University
        1998-2005    Co-Medical Director, Surgical Oncology Clinic, Duke University
        1992-2005    Member, Operating Room Committee, Duke University
        1991-2005    Principal Investigator, Duke University, Gynecologic Oncology Group
        1987-2005    Director of Gynecologic Oncology Fellowship Program (Duke Univ), ABOG
        1987-2005    Director, Gynecologic Oncology Program, Duke Comprehensive Cancer Center, Duke
                     University
        1987-2005    Member, Steering Committee Strategic Planning Task Force, Duke Comprehensive
                     Cancer Center, Duke University
        1987-2005    Member, Executive Committee, Duke Comprehensive Cancer Center, Duke University

       2003
              2003   Nominating Committee, Society of Gynecologic Oncologists
              2003   President and Program Chairman, Mid Atlantic Gynecologic Oncology Society


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       2002
              2002   President-Elect, Mid Atlantic Gynecologic Oncology Society
              2002   Member, Membership Committee, Society of Pelvic Surgeons
              2002   Member, Oncology Strategic Planning Council, Duke University

       2001
              2001   Editorial Board: Precis, Oncology, ACOG
              2001   Board Examiner: Gynecologic Oncology, ABOG
       2000
             2000    Member, Nominating Committee (AGOS Foundation)
             2000    Program Chairman (Annual Meeting), Mid Atlantic Gynecologic Oncology Society
        1994-2000    Member, Education Committee, Society of Gynecologic Oncologists

       1999
        1996-1999    Member, Fellowship Committee, AGOS

       1998
        1994-1998    Council Member, Society of Gynecologic Oncologists
        1990-1998    Ovarian Cancer Committee, Gynecologic Oncology Group

       1997
        1993-1997    Editorial Board Member, Duke Cancer Report, Duke University
        1993-1997    Committee on Gynecologic Practice, ACOG
        1993-1997    Chairman, Committee on Gynecologic Oncology Practice, ACOG
        1993-1997    ACOG Liaison Representative to the Society of Gynecologic Oncologists
        1994-1997    Member, Committee on Clinical Practice, Society of Gynecologic Oncologists

       1995
        1994-1995    Chairman, 1995 Program Committee, Society of Gynecologic Oncologists

       1994
        1993-1994    Ad hoc Council Member, Society of Gynecologic Oncologists
        1993-1994    Ad hoc Committee on Clinical Practice Policy Development Society of Gynecologic
                     Oncologists
              1994   Society of Pelvic Surgeons

       1993
        1991-1993    Chairman, Gynecology Committee, North Carolina OB/GYN Society
        1991-1993    Member, Professional Activities Committee, North Carolina OB/GYN Society
             1993    Medical Director, Duke North Hospital, 5900 Unit, Duke University
             1993    Fellow, American Gynecological and Obstetrical Society
             1993    Member, Ad hoc Committee to Define Criteria for Tenure in Clinical Medicine , Duke
                     University
              1993   Department of Surgery Chairman Search Committee, Duke University

       1992
        1990-1992    Member, Task Force on Cervical Cancer, Chairman, Subcommittee on Impact of
                     Appropriate Follow-up Care, North Carolina Department of Environment, Health, and
                     Natural Resources

       1991
        1987-1991    Co-Principal Investigator, Duke University Grant, Gynecologic Oncology Group
        1987-1991    Committee on Technical Bulletins, ACOG
             1991    Board Examiner: Gynecologic Oncology, ABOG
             1991    Member, Director of Surgical Pathology Search Committee, Duke University


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       1990
             1990    Member, Department of Pathology Chairman Search Committee, Duke University
        1982-1990    Gynecologic Management Committee, Gynecologic Oncology Group

       1989
              1989   Fellow, American College of Surgeons

       1988
              1988   Mid-Atlantic Gynecologic Oncology Society
              1988   Southern Obstetrical and Gynecological Seminar
              1988   International Gynecologic Cancer Society
              1988   Mid-Atlantic Gynecologic Oncology Society
              1988   Southern Obstetrical and Gynecological Seminar

       1987
        1985-1987    Chicago Medical Society
        1985-1987    Illinois Cancer Council
        1985-1987    Illinois State Medical Society
        1985-1987    Chicago Association of Gynecologic Oncologists
             1987    North Carolina Medical Society
             1987    North Carolina Obstetrical and Gynecological Society
             1987    American Society of Clinical Oncologists

       1986
              1986   Chicago Gynecological Society

       1985
        1982-1985    Co-Principal Investigator, Duke University Grant, Gynecologic Oncology Group
             1985    Central Association of Obstetricians and Gynecologists
             1985    Central Association of Obstetricians and Gynecologists
             1985    American Medical Association

       1982
              1982   Gynecologic Oncology Group
              1982   Society of Gynecologic Oncologists
              1982   Fellow, American College of Obstetricians and Gynecologists

       1979
              1979   Piedmont Obstetrical and Gynecological Society
              1979   Bayard Carter Society of Obstetricians and Gynecologists
              1979   Junior Fellow Section Chairman, ACOG

       1978
              1978   Junior Fellow Section Co-Chairman, ACOG

       1977
              1977   Junior Fellow Section Program Chairman, ACOG


        B. Within UNC-Chapel Hill

       2018-2021 Member, School of Medicine Promotions and Tenure
       Committee
       2013-present Member, UNC Hospitals Committee of Perioperative Leaders
       2011-present Member, Physicians and Associates Executive Committee
                    Member, P&A Finance and Compensation Committee
                    Member, P&A Committee on Payer Relations
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       2009-present Member, Strategic Planning Committee: Hillsboro Hospital




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       2009-present Member, Strategic Planning Committee UNC HCS
       2008-present Member, Dean’s Advisory Committee on Part-Time Tenure Track Positions
       2008-present Member Geographic Strategic Planning Committee
       2008-present Member UNC Strategic Planning Committee: Outpatient Surgery
       2008-present Member UNC Strategic Planning Committee: Oncology
       2007-present Member, Sheps Center Advisory Board
       2007-present Member, Center for Women’s Health Research Advisory Board
       2007-present Team Leader (Attending Physicians’ Experience) UNC Hospital Commitment to Caring
       2006-present Medical Director, NC Women’s Hospital Ambulatory Services
       2005-present Dean’s Advisory Committee
       2005-present UNC Hospital Executive Committee
       2005-present Physician and Chief, North Carolina Women’s Hospital
       2005-present Member, Physician and Associates Board
       2005-present Member, UNC Lineberger Cancer Center
       2006, 2007 Chair, Data Safety Monitoring Board: An International Multi-Center Phase III Study of
                     Chemoradiotherapy versus chemoratiotherapy plusvhyperthermia for locally advanced
                     cervical


     Editorial Board Member

        1994-2004       Postgraduate Obstetrics and Gynecology
        2003            Précis, Oncology, Second Edition
        1995-2001       Associate Editor, Journal of Gynecologic Techniques
        1994-2000       Gynecologic Oncology


     Journal Reviewer

          Obstetrics and Gynecology
          New England Journal of Medcine
          American Journal of Obstetrics and Gynecology
          Journal of the American Medical Association (JAMA)
             Annals of Internal Medicine
             Pharmacotherapy
             Fertility and Sterility
             Gynecologic Oncology
             Cancer
             International Journal of Gynecology and Obstetrics
             Journal of Pelvic Surgery




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                        Exhibit B
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                        Exhibit C
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                  DANIEL CLARKE-PEARSON, MD PRIOR TESTIMONY
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